Case: 1:22-cv-00809 Document #: 40-5 Filed: 11/10/22 Page 1 of 7 PageID #:6762




                     EXHIBIT E
     Case: 1:22-cv-00809
     Case: 1:20-cv-00220 Document
                         Document #:
                                  #: 40-5
                                     195 Filed:
                                          Filed: 03/24/21
                                                 11/10/22 Page
                                                          Page 12 of
                                                                  of 67 PageID
                                                                        PageID #:6197
                                                                               #:6763




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

 SUN CHENYAN,

      Plaintiff,
                                                  No. 20-cv-00220
 v.
                                                  Judge John F. Kness
 THE PARTNERSHIPS AND
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE “A”,

      Defendants.


                                        ORDER

      The motion for reconsideration (Dkt. 168) filed by the entities referred to as
the Sherinian Defendants is granted. Plaintiff’s motion to strike (Dkt. 181) is denied.
Counsel for Plaintiff and the Sherinian Defendants must confer on a proposed,
revised preliminary injunction order consistent with the relief described below and
must submit a draft (agreed or otherwise) on or before April 2, 2021. See
accompanying Statement for details.

                                     STATEMENT

I.       BACKGROUND

       In response to the October 14, 2020 Order denying in part and granting in part
Plaintiff’s motion to extend the preliminary injunction against the Sherinian
Defendants (Dkt. 166), the Sherinian Defendants filed a motion to reconsider the
Court’s entry of an asset restraint. In its October 14 Order, the Court entered an asset
restraint against the Sherinian Defendants relating to Plaintiff’s copyright
infringement claim. The Court held that Plaintiff may be able to recover up to
$150,000 in statutory damages for the Sherinian Defendants’ conduct and $25,000 in
reasonable attorney’s fees. Accordingly, the Court found that a $175,000 asset
restraint was reasonable and appropriate.

      In their motion to reconsider, the Sherinian Defendants argue that a Court
may only freeze a Defendant’s assets if a plaintiff presents a cognizable claim in
equity and the asset freeze is related to the equitable claim. (Dkt. 168 at 1.) In
support, the Sherinian Defendants cite Grupo Mexicano de Desarrolla v. Alliance
  Case: 1:22-cv-00809
  Case: 1:20-cv-00220 Document
                      Document #:
                               #: 40-5
                                  195 Filed:
                                       Filed: 03/24/21
                                              11/10/22 Page
                                                       Page 23 of
                                                               of 67 PageID
                                                                     PageID #:6198
                                                                            #:6764




Bond Fund, 527 U.S. 308 (1999), where the Supreme Court concluded that a district
court is not permitted to freeze a defendant’s assets solely to preserve a plaintiff’s
right to recover monetary damages. The Sherinian Defendants contend that because
the Court’s order entered an asset restraint based on Plaintiff’s potential statutory
damages and attorney’s fees—which are monetary remedies not related to Plaintiff’s
equitable claim—the asset restraint is unlawful.

       As explained below, the Court agrees that it erred in imposing an asset
restraint based upon the potential availability of remedies at law. Accordingly, the
Court grants the motion for reconsideration and reduces the asset restraint to $1,000
per account owned by the Sherinian Defendants.

II.    LEGAL STANDARD

       Rule 54(b) of the Federal Rules of Civil Procedure provides that non-final
orders “may be revised at any time before the entry of a judgment adjudicating all
the claims and all the parties’ rights and liabilities.” Fed. R. Civ. P. 54(b). As a result,
the Court has the “discretionary authority” to reconsider an interlocutory order.
Galvan v. Norberg, 678 F.3d 581, 587 (7th Cir. 2012); see also Chicago Reg’l Council
of Carpenters v. Prate Installations, Inc., No. 10-cv-5431, 2011 WL 2469820, at *1
(N.D. Ill. June 20, 2011) (“under Rule 54(b), the Court may exercise its inherent
authority to reconsider its interlocutory orders because the Court may revise such
orders at any time before entering final judgment”) (citing Moses H. Cone Mem. Hosp.
v. Mercury Const. Corp., 460 U.S. 1, 12 (1983)). Motions for reconsideration under
Rule 54(b) serve the limited function of correcting manifest errors of law or fact or
presenting newly discovered evidence. Patrick v. City of Chicago, 103 F. Supp. 3d 907,
911-12 (N.D. Ill. 2015).

        A district court is not permitted to freeze a defendant’s assets solely to preserve
a plaintiff’s right to recover monetary damages. Grupo Mexicano, 527 U.S. at 333;
CSC Holdings, Inc. v. Redisi, 309 F.3d 988, 996 (7th Cir. 2002). But a restraint on
assets is still proper if a suit seeks equitable relief. Grupo Mexicano, 527 U.S. at 333;
CSC Holdings, Inc., 309 F.3d at 996. Indeed, the logic behind a prejudgment asset
freeze is the maintenance of the status quo pending adjudication of a claim. Tiffany
(NJ) LLC v. QI Andrew, No. 10-cv-9471, 2015 WL 3701602, at *12 (S.D.N.Y. June 15,
2015). A district court may enjoin the disposition of assets pending judgment only to
the extent that an injunction is a reasonable measure to preserve the status quo
pending final determination of an equitable claim. Paradigm BioDevices, Inc. v.
Centinel Spine, Inc., No. 11-cv-3489, 2013 WL 1915330, at *4 (S.D.N.Y. May 9, 2013).
It follows that, to the extent any injunction is warranted, it must be limited to the
assets that were derived from infringing conduct. Paradigm, 2013 WL 1915330 at *4.
A plaintiff must, therefore, both meet all of the elements for a preliminary injunction
and seek relief that is equitable in nature to warrant a restraint on a defendant’s
assets. CSC Holdings, Inc., 309 F.3d at 996 (upholding an asset restraint where the



                                             2
  Case: 1:22-cv-00809
  Case: 1:20-cv-00220 Document
                      Document #:
                               #: 40-5
                                  195 Filed:
                                       Filed: 03/24/21
                                              11/10/22 Page
                                                       Page 34 of
                                                               of 67 PageID
                                                                     PageID #:6199
                                                                            #:6765




plaintiff sought an “accounting and profits remedy” because the remedy was
“equitable in nature and imposes a constructive trust on the defendant.”)

III.   DISCUSSION

       A.     The Court’s Preliminary Injunction Order

       In its ruling on Plaintiff’s motion to extend the preliminary injunction against
the Sherinian Defendants (Dkt. 166), the Court found there was insufficient evidence
to maintain a preliminary injunction against the Sherinian Defendants for
trademark infringement. Conversely, the Court found, and the Sherinian Defendants
conceded, that there was a high likelihood Plaintiff would succeed on her copyright
claim. As a result, the Court entered a continued preliminary injunction and asset
restraint against the Sherinian Defendants as to the copyright claim only.

       Before its preliminary injunction order, the Court provided Plaintiff multiple
opportunities to present evidence to support a continued preliminary injunction for
its trademark claims against the Sherinian Defendants. Instead, Plaintiff admitted
she did not have any direct evidence of trademark infringement against the Sherinian
Defendants (6/26/2020 Transcript 34:19-35:8) (“[N]ot one of them [the Sherinian
Defendants] is one of the many that we’ve placed on record that has a trademark
that’s discernible”) and presented limited and speculative evidence in support of her
theory of joint and several liability for trademark infringement. Plaintiff argued that
the Sherinian Defendants were part of a larger trademark infringement scheme that
supported an indirect finding of liability for each defendant based on the conduct of
other parties. But the Court found that Plaintiff failed to support that argument with
sufficient evidence.1 In fact, the Sherinian Defendants were the only ones to present
evidence at the full-day evidentiary hearing, through testimony from the Sherinian
Defendant store owner Zhina Chen. Plaintiff’s evidence was not enough to show a
likelihood of success on the merits for either direct trademark infringement or joint
and several liability for trademark infringement. As a result, the Court refused to
keep the preliminary injunction in place for Plaintiff’s trademark claim against the
Sherinian Defendants.2


   1 Plaintiff’s joint and several liability theory was addressed in the Court’s October 14

Order (Dkt. 166 at 6-10.)
   2 In considering the other factors of the preliminary injunction analysis, the Court
assumed, based on the strong presumption under Seventh Circuit precedent, that Plaintiff
would be able to make an adequate showing of both irreparable harm and lack of an adequate
remedy. But the Court found that the potential harm to the Sherinian Defendants if the
preliminary injunction remained in place was significant. This finding, combined with
Plaintiff’s inability to point to any evidence that suggested the funds currently restrained
were actually assets of other Defendants, pushed the sliding scale in favor of the Sherinian
Defendants.


                                             3
  Case: 1:22-cv-00809
  Case: 1:20-cv-00220 Document
                      Document #:
                               #: 40-5
                                  195 Filed:
                                       Filed: 03/24/21
                                              11/10/22 Page
                                                       Page 45 of
                                                               of 67 PageID
                                                                     PageID #:6200
                                                                            #:6766




       In the same order, the Court also assessed Plaintiff’s copyright infringement
claim against the Sherinian Defendants. Although they conceded that Plaintiff was
likely to succeed on the merits of her copyright claim, the Sherinian Defendants
disputed the amount of damages Plaintiff could recover from her copyright claim.
More specifically, the Sherinian Defendants argued that Plaintiff’s potential damages
would be limited because actual damages for a copyright claim are historically
difficult to ascertain. In contrast, Plaintiff contended that her damages were not as
limited as the Sherinian Defendants suggested and asked the Court to enter an asset
restraint to protect the status quo. Because the Sherinian Defendants admitted
Plaintiff had a successful copyright infringement claim, Plaintiff was entitled to an
injunction that included an asset restraint. In calculating the amount of the asset
restraint, the Court considered Chen’s admission that she downloaded a total of five
infringing photographs of Plaintiff’s wedding shoes. This led the Court to find
Plaintiff had a possibility of recovering $150,000 in statutory damages ($30,000 per
infringing photograph). This amount, combined with a reasonable attorney’s fee of
$25,000, resulted in a $175,000 asset restraint.

      B.     Legal Remedies Cannot Support a Preliminary Asset Restraint

      As explained above, a district court cannot freeze a defendant’s assets solely to
preserve a plaintiff’s right to recover statutory damages. Grupo Mexicano, 527 U.S.
at 333; CSC Holdings, Inc., 309 F.3d at 996. Despite this clear rule, however, the
Court based the existing asset restraint in significant part on the availability of
potential legal remedies. Because the Court did not base the asset restraint solely on
available equitable remedies, the Court committed an error of law. Accordingly, the
$175,000 restraint, as currently constituted, is improper.

       Plaintiff contends that, despite the controlling law of Grupo Mexicano and CSC
Holdings, the asset restraint is still proper. Plaintiff presents three arguments in
support: first, because the Sherinian Defendants did not include the point in their
previous briefs, they waived the argument that the asset freeze cannot be based on
statutory damages. This misconstrues the record, however; the Sherinian Defendants
have consistently suggested that any asset restraint should be limited to the amount
potentially available from equitable remedies. (Dkt. 94 at 9.) It was only when the
Court explicitly based the asset restraint largely on the availability of statutory
damages that the Sherinian Defendants were required to address the issue directly.
In any event, even if the waiver doctrine could be applied, the Court exercises its
discretion to consider the Sherinian Defendants’ argument at this juncture. See, e.g.,
Dickman v. Astrue, No. 08-cv-898, 2009 WL 1107807 at *8 n.9 (E.D. Wis. Apr. 23,
2009).

       Second, Plaintiff argues that other district courts have granted asset restraints
that are unlimited in scope based on a plaintiffs’ request for statutory damages. But
the case Plaintiff cites, H-D U.S.A., LLC v. The Partnership, No. 20-cv-04596, Dkt. 38



                                           4
Case: 1:22-cv-00809 Document #: 40-5 Filed: 11/10/22 Page 6 of 7 PageID #:6767
Case: 1:22-cv-00809 Document #: 40-5 Filed: 11/10/22 Page 7 of 7 PageID #:6768
